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                    EXHIBIT C
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                                         Exhibit C
                      EXPENSE SUMMARY FOR THE APPLICATION PERIOD
                     (MAY 1, 2024 THROUGH AND INCLUDING JULY 31, 2024)



                                      Expense Summary
                Expense Category                               Amount
                License Fees                                     $812,364.28
                Airfare                                           $34,403.72
                Lodging                                           $33,868.46
                Meals                                              $7,111.84
                Transportation                                    $12,785.04
                Miscellaneous                                      $5,339.70
                TOTAL                                            $905,873.04




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